
41 So.3d 284 (2010)
Johnathan D. ROGERS, Appellant,
v.
STATE, DEPARTMENT OF REVENUE, CHILD SUPPORT ENFORCEMENT PROGRAM, o/b/o Rachel H. BREWER, Appellee.
No. 1D10-0790.
District Court of Appeal of Florida, First District.
June 9, 2010.
Rehearing Denied July 29, 2010.
Johnathan D. Rogers, pro se, Appellant.
Bill McCollum, Attorney General, and William H. Branch, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Johnathan D. Rogers appeals an order of the circuit court which denied his motion to abate child support. This order was entered after a hearing on the motion where Rogers did not appear. Appellee confesses error, conceding that Rogers did not have proper notice of the hearing. We find this confession to be proper and accordingly *285 vacate the order on appeal and remand to the trial court for a properly noticed hearing on appellant's motion.
REVERSED and REMANDED.
WOLF, BENTON, and PADOVANO, JJ., concur.
